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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

    ORLANDO RUIZ AND OSCAR                                   §
    DURANT, JR., ON BEHALF OF                                §
    THEMSELVES AND ALL OTHERS                                §
    SIMILARLY SITUATED,                                      §
                     Plaintiff,                              §       CIVIL NO. A-25-CV-427-ADA-ML
                                                             §
    v.                                                       §
                                                             §
    ROCKHARD CO, LLC, ROCKHARD                               §
    HOLDINGS, LLC, AND CARLOS R.
    ROMAN, INDIVIDUALLY,
                    Defendants.


           DOCKET CONTROL ORDER PURSUANT TO RULES 16(b) AND 26(f)

          The above-styled matter is before the Court.1 IT IS HEREBY ORDERED that the

parties confer pursuant to Federal Rule of Civil Procedure 26(f) and file with the Court, on

or before July 16, 2025, both a joint proposed scheduling and discovery plan reflecting

the Rule 26(f) criteria AND a completed version of the Court’s standard Scheduling

Order.2 The parties or their counsel shall confer, complete and prepare the form with all

dates (including the final pretrial conference, jury selection, and trial dates) , obtain the

appropriate signatures, and file the proposed scheduling order. If there are no disputes, the

Court will enter the proposed scheduling order without the need for an initial pretrial

conference.



1
 This case has been referred to the undersigned in accordance with District Judge Alan D Albright’s Magistrate
Referral Order, dated February 27, 2025. Consistent with his procedures, the undersigned enters this Order.
2
 An example Scheduling Order may be found at Appendix A. Although the undersigned will enter the scheduling
order, the final pretrial conference, jury selection, and jury trial will take place before District Judge Alan D Albright,
unless the parties consent under 28 U.S.C. § 636(c).

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       During the Rule 26(f) meeting, the parties or their counsel shall discuss the nature

and basis of their claims and defenses, the possibilities for prompt settlement or resolution

of the case, and the scope and type of discovery, including electronic discov ery. The parties

shall also arrange for the disclosures required by Rule 26(a)(1) and develop their joint

proposed scheduling/discovery plan. These are the minimum requirements for the meeting.

The parties are encouraged to have a comprehensive discussion and are required to approach

the meeting cooperatively and in good faith. The discussion of claims and defenses shall be

a substantive, meaningful discussion. In addressing settlement or early resolution of the case,

the parties are required to explore the feasibility of ADR between themselves as well. If the

parties elect not to participate in an early ADR effort, the Court may nonetheless require a

settlement conference shortly before trial.

       In addressing the Rule 26(a)(1) disclosures, the parties shall discuss the appropriate

timing, form, scope, or requirement of the initial disclosures, keeping in mind that

Rule 26(a)(1) contemplates that disclosures will be made by the date of the Rule 16(b) initial

scheduling conference and will include at least the categories of information listed in

the rule. Rule 26 affords the parties flexibility in the scope, form, and timing of disclosures

under both Rule 26(a)(1) (initial disclosures) and Rule 26(a)(2) (expert witness disclosures),

but the parties’ agreement on disclosures is subject to approval by the undersigned. In their

discussion of disclosures, counsel shall address issues of relevance in detail, with each party

identifying what it needs and why. The discussion shall include the sequence and t iming of

follow-up discovery, including whether that discovery should be conducted informally or

formally and whether it should be conducted in phases so as to prepare for filing of particular

motions or settlement discussions.

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       In addressing electronic discovery, the parties shall discuss what electronic sources

each party will search, difficulty of retrieval, preservation of records, the form of production

(electronic or hard-copy, format of production, inclusion of meta-data, etc.), cost of

production and which party will bear the cost, privilege/waiver issues, and any other

electronic discovery issues present in the case. Before engaging in the Rule 26 discussion,

the parties should determine who is most familiar with the client’s computer system, what

electronic records the client maintains, how the client’s electronic records are stored, the

difficulty/ease of retrieving various records, the existence and terms of the client ’s document

retention/destruction policy, and whether the client has placed a “litigation hold” preventing

destruction of potentially relevant records.

       The undersigned recognizes Judge Albright typically resolves any discovery disputes

through an email practice. Because those discovery disputes have already been referred to

the undersigned by District Judge Alan D Albright’s Magistrate Referral Order, the

undersigned directs the parties to follow typical motion practice prescribed by the Local and

Federal Rules of Civil Procedure to bring any discovery disputes before the Court.

   The Court would also like to relay the following to the parties:

   (1) The Court has recently faced a spate of discovery objections that do not track the 2015
       amendments to the Federal Rules. Please remember that boilerplate objections are
       unacceptable.

   (2) Speaking objections during depositions are improper. Other than to evaluate privilege
       issues, counsel should not confer with a witness while a question is pending. Counsel may
       confer with witnesses during breaks in a deposition without waiving any otherwise
       applicable privilege.




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(3) Parties shall promptly notify the Court if they reach a settlement in a case and request to
    stay any deadlines.



    SIGNED May 14, 2025.
                                             _______________________________
                                             MARK LANE
                                             UNITED STATES MAGISTRATE JUDGE




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        APPENDIX A




                                1
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                  §
                                                  §
                                                  §
                           Plaintiffs,            §
                                                  §                Case No.
 v.                                               §
                                                  §                Jury Trial Demanded
                                                  §
                                                  §
                           Defendants.            §
                                                  §


                        JOINT PROPOSED SCHEDULING ORDER

       Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court ORDERS that the

following schedule will govern deadlines up to and including the trial of this matter:

         Date                                                Event
                         Discovery commences on all issues.
                         All motions to amend pleadings or to add parties shall be filed on or
                         before this date.
                         Fact Discovery Deadline. Any discovery requests must be propounded
                         so that the responses are due by this date.
                         The parties asserting claims for relief shall submit a written offer of
                         settlement to opposing parties on or before this date. All offers of
                         settlement are to be private, not filed, and the Court is not to be advised
                         of the same. The parties are further ORDERED to retain the written
                         offers of settlement and responses as the Court will use these in assessing
                         attorney’s fees and court costs at the conclusion of trial.
                         Parties with burden of proof to designate Expert Witnesses and provide
                         their expert witness reports, to include all information required by Rule
                         26(a)(2)(B).
                         Each opposing party shall respond, in writing, to the written offer of
                         settlement made by the parties asserting claims for relief by this date. All
                         offers of settlement are to be private, not filed, and the Court is not to be
                         advised of the same. The parties are further ORDERED to retain the written
                         offers of settlement and responses as the Court will use these in assessing
                         attorney’s fees and court costs at the conclusion of trial.
                         Parties shall designate Rebuttal Expert Witnesses on issues for which the
                         parties do not bear the burden of proof, and provide their expert witness
                         reports, to include all information required by Rule 26(a)(2)(B).

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                         Expert Discovery Deadline. Expert discovery must be completed by this
                         date.
                         Any objection to the reliability of an expert’s proposed testimony under
                         Federal Rule of Evidence 702 shall be made by motion, specifically stating
                         the basis for the objection and identifying the objectionable testimony, not
                         later than 14 days of receipt of the written report of the expert’s proposed
                         testimony or not later than 14 days of the expert’s deposition, if a deposition
                         is taken, whichever is later. The failure to strictly comply with this
                         paragraph will be deemed a waiver of any objection that could have
                         been made pursuant to Federal Rule of Evidence 702
                         All dispositive motions shall be filed and served on all other parties on or
                         before this date and shall be limited to 25 pages. Responses shall be filed
                         and served on all other parties not later than 14 days after the service of the
                         motion and shall be limited to 20 pages. Any replies shall be filed and
                         served on all other parties not later than 7 days after the service of the
                         response and shall be limited to 10 pages, but the Court need not wait for
                         the reply before ruling on the motion.

                       Each party shall complete and file the “Notice Concerning Reference to
                       United States Magistrate Judge”
                       By this date the parties shall meet and confer to determine pre-trial
                       deadlines, including, inter alia, exchange of exhibit lists, designations of
                       and objections to deposition testimony, and exchange of demonstratives.
                       By this date the parties shall exchange a proposed jury charge and questions
                       for the jury. By this date the parties will also exchange draft Motions in
                       Limine to determine which may be agreed.
                       By this date the parties shall exchange any objections to the proposed jury
                       charge, with supporting explanation and citation of controlling law.
                       By this date the parties shall also submit to the Court their Motions in
                       Limine.
                       By this date the parties will submit to the Court their Joint Pre-Trial Order,
                       including the identification of issues to be tried, identification of witnesses,
                       trial schedule provisions, and all other pertinent information. By this date
                       the parties will also submit to the Court their oppositions to Motions in
                       Limine.
[This date should be Final Pre-Trial Conference. The parties shall provide to the Court an agreed
a Friday during the jury charge with supported objections of each party, and proposed questions
1st or 3rd week of the for the jury, at the final Pre-Trial Conference.
month, no less than
90 days after the
dispositive motion
deadline.]
[This date should be The Court will attempt to schedule Jury Selection on a day during the week
the week before        of ___________________. Otherwise, Jury Selection shall begin at 9:00
trial.]                a.m. on, ______________.

[This date should be     Jury Trial Commences at 9:00 a.m. on Monday, ________.
1-2 months after the

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 Final Pretrial
 Conference date,
 during the 1st or 3rd
 week of the month.]




       SIGNED _____________,




                                            __________________________________
                                            MARK LANE
                                            UNITED STATES MAGISTRATE JUDGE


AGREED:

By:    __________________________           By: ____________________________



Attorneys for Plaintiff s                   Attorneys for Defendants




                                        4
